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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                  CRIMINAL ACTION
v.                                   )
                                     )                  No. 10-20129-05-KHV
ANDREW J. PRICE,                     )
                                     )
               Defendant.            )
_____________________________________)

                                              ORDER

       Defendant’s Motion Under 18 U.S.C. § 3582(c)(2) For Modification Of Sentence By A Person

In Federal Custody (Doc. #870) filed February 6, 2015 is DISMISSED for lack of jurisdiction. On

September 15, 2011, the Court sentenced defendant to 240 months in prison based solely on the binding

plea agreement under Rule 11(c)(1)(C). See Judgment In A Criminal Case (Doc. #604); Plea

Agreement Pursuant To Fed. R. Crim. P. 11(c)(1)(C) (Doc. #353) filed April 15, 2011. Because the

plea agreement calls for a specific sentence and does not use or employ a guideline sentencing range,

the Court dismisses defendant’s motion for relief under 18 U.S.C. § 3582(c)(2). United States v.

Graham, 704 F.3d 1275, 1278 (10th Cir. 2013).1

       IT IS SO ORDERED.

       Dated this 24th day of February, 2015, at Kansas City, Kansas.

                                                     s/ Kathryn H. Vratil
                                                     KATHRYN H. VRATIL
                                                     United States District Judge



       1
               In his motion, defendant argues that his waiver of the right to file a motion under
18 U.S.C. § 3582(c)(2) is not valid because counsel was ineffective in explaining the provision to him.
See Motion Under 18 U.S.C. § 3582(c)(2) For Modification Of Sentence By A Person In Federal
Custody (Doc. #870) at 3-6. In dismissing defendant’s present motion, the Court does not rely on the
waiver in the plea agreement.
